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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

BRIAR CAPITAL L.P., a Texas Limited              )
Partnership,                                     )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )
                                                          Case No. ____________
                                                 )
THE HANOVER INSURANCE                            )
COMPANY, a New Hampshire                         )
Corporation,                                     )
                                                 )
               Defendant.                        )

                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant THE HANOVER

INSURANCE COMPANY (“Hanover”) hereby removes this action to the United States District

Court for the Southern District of Texas from the District Court of Harris County, Texas, where

it was commenced and is presently pending as Case No. 2017-24250. As grounds for this

removal, Defendant states as follows:

       1.      In this action, Plaintiff Briar Capital L.P. seeks a judgment against Defendant

with respect to insurance coverage for Plaintiff issued by Defendant.

       2.      Plaintiff alleges that it an insured entitled to insurance coverage under a Financial

Institution Bond issued by Defendant to Plaintiff (the “Bond”), with respect to an alleged

fraudulent scheme perpetrated upon Plaintiff by certain parties not named in this litigation, and

which is described in Plaintiff’s Complaint.

       3.      A copy of the Complaint, which indicates the instant action was filed on April 10,

2017, is attached hereto as Exhibit A. Defendant was served by a process server on April 25,

2017. A copy of the Proof of Service dated April 25, 2017 is attached hereto as Exhibit B.



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       4.      Fewer than 30 days have passed since the date of service of the Complaint to the

Defendant on April 25, 2017, so the time within which Defendants are permitted to file this

notice of removal under 28 U.S.C. § 1446(b) has not expired as of the time of the filing and

service of this Notice of Removal. See Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344,

356 (1999).

Removal is Proper based Upon Diversity of Citizenship

       5.      This action is between citizens of different states because:

               (a)     Plaintiff Briar Capital L.P. is a Texas citizen. As admitted by Plaintiff in

its Complaint, Plaintiff is a Texas limited partnership that conducts business in Harris County,

Texas. Ex. A, ¶ 2. Plaintiff’s principal place of business is in Houston, Texas. Plaintiff is

therefore a citizen of the State of Texas.

               (b)     Defendant The Hanover Insurance Company is a citizen of New

Hampshire and Massachusetts. As acknowledged in the Complaint, Defendant is a New

Hampshire corporation with its principal place of business located in Worcester, Massachusetts.

Ex. A, ¶ 4. Defendant is therefore a citizen of New Hampshire and Massachusetts.

       6.      Based on the allegations in the Complaint, the amount in controversy (exclusive

of interest and costs) exceeds the sum or value of $75,000. Plaintiff claims that Defendant

wrongfully denied coverage for the loss it allegedly sustained as a result of a fraudulent scheme,

and that Plaintiff is entitled to recover from Defendant under the Bond “over $1,000,000.”

       7.      In view of the foregoing facts, this Court possesses original diversity jurisdiction

over the lawsuit filed against Plaintiff pursuant to 28 U.S.C. § 1332, at the time when it was

filed. Accordingly, this case is properly removable under 28 U.S.C. § 1441(b).




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       8.      Removal to this District is proper under 28 U.S.C. § 1441 because this is the

District embracing the locale where the action is pending, in Harris County, Texas.

       9.      Written notice of the filing of this notice of removal is being promptly given to

Plaintiff and a Notice of Removal to federal court is being filed with the Clerk of the District

Court of Harris County, Texas as required by 28 U.S.C. § 1446(d). The Notice of Removal to

federal court is attached hereto as Exhibit C.

       WHEREFORE Defendant THE HANOVER INSURANCE COMPANY respectfully

removes this action from the District Court of Harris County, Texas to the United States District

Court for the Southern District of Texas.


Dated: May 18, 2017                                  Respectfully submitted:

                                                     THE HANOVER INSURANCE
                                                     COMPANY

                                             By:     /s/Brenda Neel Hight

                                                     Brenda Neel Hight (#18225)
                                                     Texas Bar No. 09607400
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                                                     and

                                                     Pro Hac Vice Anticipated
                                                     David T. Brown
                                                     Andrew S. Johnson
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                                                      Email: ajohnson@kdvlaw.com


                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on May 18, 2017 the above and
foregoing was electronically filed with the Clerk of the Court using the CM/ECF system.

       The undersigned further certifies that a true and correct copy of the foregoing instrument
was served on the attorneys of record at their respective business addresses indicated below:

          George R. Gibson                                   Michael Jay Kuper
          Marvin D. Nathan                                   A Professional Corporation
          David Overhuls                                     Michael Jay Kuper
          2800 Post Oak Boulevard, 61st Floor                2901 Via Fortuna Drive, Suite 500
          Houston, Texas 77056-6102                          Austin, Texas 78746
          ggibson@nathansommers.com                          mkuper@kuperlawfirm.com
          mnathan@nathansommers.com                          Counsel for Plaintiff
          doverhuls@nathansommers.com
          Counsel for Plaintiff

via CM/ECF and by  hand delivery,  email,  facsimile,  overnight-next day delivery,
and/or  First Class U.S. Mail with proper postage prepaid, at or before the hour of 5:00 p.m.,
on May 18, 2017.


                                                By:   /s/Brenda Neel Hight




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                                                                        Hanover Notice of Removal
